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        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

PLANNED PARENTHOOD OF THE
GREAT NORTHWEST AND THE
HAWAIIAN ISLANDS, a Washington              Case No. 1:18-cv-00555-REB
corporation; MARY STARK, on behalf of
herself and her patients,                   RESPONSE TO DEFENDANTS’ MOTION
                                            TO DISMISS (Dkt. 33)
                       Plaintiffs,

         v.

LAWRENCE G. WASDEN, in his official
capacity as Attorney General of Idaho;
JAN M. BENNETTS, in her official
capacity as Ada County Prosecuting
Attorney; GRANT P. LOEBS, in his
official capacity as Twin Falls County
Prosecuting Attorney; THE INDIVIDUAL
MEMBERS OF THE STATE BOARD OF
MEDICINE, in their official capacity; THE
INDIVIDUAL MEMBERS OF THE
STATE BOARD OF NURSING, in their
official capacity,

                       Defendants.




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I.       INTRODUCTION

         Idaho’s laws banning advanced practice clinicians (“APCs”) from performing abortion

care—enacted nearly 20 years ago, long before the advent of safe medication abortion and the

standardization of the APC professions—offer patients no medical benefit and in fact increase

medical risk for patients by impeding their access to critical, constitutionally protected health

care. These laws 1 (collectively the “APC Ban”) are unconstitutional under both substantive due

process and equal protection analyses. Defendants’ motion to dismiss should be denied because

Plaintiffs Planned Parenthood of the Great Northwest and the Hawaiian Islands (“PPGNHI”) and

Mary Stark (collectively, “Plaintiffs”) have alleged sufficient factual allegations, with reasonable

inferences drawn from those facts taken as true, to reflect Plaintiffs’ more than plausible legal

bases for relief. See Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009).

         First, Defendants rely on a 1997 decision, Mazurek v. Armstrong, 520 U.S. 968, 975

(1997), upholding a Montana APC ban, while studiously ignoring the Court’s landmark 2016

decision in Whole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292, 2315 (2016) (“WWH”),

striking down two restrictions that were likewise medically unnecessary and clarifying the proper

legal standard for judicial review of abortion restrictions. 2 WWH reaffirmed that abortion is a

constitutionally protected liberty interest, and therefore any abortion restriction must be

evaluated based on specific evidence of its benefits and harms—and if its harms outweigh its

benefits, it is invalid. 136 S. Ct. at 2309-10; see also Planned Parenthood Ariz., Inc. v. Humble,

753 F.3d 905, 914 (9th Cir. 2014) (“[T]he undue burden test is context-specific, and . . . both the

severity of a burden and the strength of the state’s justification can vary depending on the

         1
        Idaho Code §§ 18-608A and 18-605(3), referenced collectively in the Complaint as the
Physician-Only Law.
         2
          It is striking that Defendants do not acknowledge WWH until the last two pages of their
brief, and then only to cite it for the secondary argument that Plaintiffs must prove causation.

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circumstances.”). While Defendants assert that Mazurek created a “bright line rule” foreclosing

challenges to APC bans once and for all, that argument is untenable under WWH.

         Nor, even when it was issued, did Mazurek stand for a “bright line” rule that all APC

bans are valid. The Mazurek Court faced “uncontested” evidence that the Montana law did not

impede access to abortion and merely considered whether plaintiffs had demonstrated that it had

been enacted with an improper “purpose.” 520 U.S. at 972. The Court was careful not to say

that such laws would be constitutional whatever their effect on access. And since Mazurek, the

Court has further clarified that, when a restriction limits access to abortion, states must produce

evidence justifying that burden. See WWH, 136 S. Ct. at 2309-10; id. at 2324-25 (Thomas, J.,

dissenting) (unsuccessfully arguing that Mazurek foreclosed relief against other restrictions with

asserted safety benefits). Here, the Complaint sets forth ample facts supporting their claim that

Idaho’s APC Ban limits abortion access and fails to provide any offsetting benefits.

         Second, this case is not, as Defendants dismissively suggest, a lawsuit about convenience.

It is about a ban that seriously impedes women from exercising their fundamental constitutional

right to determine whether and when to assume the physical burdens and risks of pregnancy and

childbirth and the life-changing responsibilities of parenthood. In trivializing the significant

limits this ban imposes on when and where Plaintiffs can offer early abortion care, Defendants

ask the Court to ignore the effect of these limits on women who are traveling far distances,

parenting, living in poverty, suffering intimate partner violence, and/or working low-wage jobs

with inflexible schedules—contrary to binding precedent, see, e.g., WWH, 136 S. Ct. at 2302

(finding that restrictions would particularly harm “poor, rural, or disadvantaged women”

(internal quotation marks and citation omitted)); Humble, 753 F.3d at 915 (the undue burden




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analysis considers “the ways in which an abortion regulation interacts with women’s lived

experience [and] socioeconomic factors”).

         Plaintiffs should have the opportunity to develop this record, and to show how the APC

Ban unduly burdens women seeking an abortion—delaying them and imposing on them medical

risk, financial strain, and other harms. The motion to dismiss should be denied.

II.      FACTUAL BACKGROUND 3

         Early abortion methods are extremely straightforward and low-risk. Complaint

(“Compl.”) ¶ 21. One method is medication abortion, in which the patient takes two medications

orally which cause contractions that empty her uterus. Id. ¶ 22. Another is aspiration abortion,

in which a small tube is inserted through the natural opening of the patient’s cervix and gentle

suction is used to empty her uterus. Id. ¶ 23. Neither procedure involves any surgical incision.

Id.

         APCs are licensed health care providers with advanced education and training. Compl. ¶

2. Idaho law gives broad authority to APCs 4 to perform many of the same tasks as licensed

physicians, including evaluating and diagnosing patients, ordering and interpreting diagnostic

tests, and initiating and managing treatments, including prescribing medication. 5 Id. ¶ 1. In

Idaho, APCs are authorized to perform a variety of medical procedures that reflect their

advanced training, ranging from delivering babies and inserting intrauterine contraceptive

         3
         The factual background is drawn from the factual allegations in the Complaint, which
are accepted as true for purposes of a motion to dismiss.
         4
         APCs include physician assistants and advanced practice registered nurses (a category
of professional caregivers that includes certified nurse practitioners and certified nurse
midwives). Compl. ¶ 1.
         5
         Idaho Code §§ 54-1402, 54-1807A; Idaho Admin. Code r. 22.01.03.010, 22.01.03.028,
22.01.03.030, 22.01.03.042, 23.01.01.271, 23.01.01.280, 23.01.01.315; see American
Association of Nurse Practitioners, State Practice Environment,
https://www.aanp.org/legislation-regulation/state-legislation/state-practice-environment (last
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devices (IUDs), to performing endometrial biopsies (the removal of tissue from the uterine

lining). Id. ¶ 2. The complexity of health care services that APCs are already authorized to

provide is equal to or greater than the complexity of early abortion care. Id. ¶¶ 3, 51-57.

Despite the fact that Idaho authorizes APCs to perform comparable - and in the case of

miscarriage management, identical - health care services, the APC Ban restricts APCs from

providing medication and aspiration abortion care. Id. ¶ 3.

         The APC Ban is not medically necessary. Comp. ¶¶ 17-23 (early abortion practice and

safety); ¶¶ 28-29 (licensing requirements for APCs in Idaho); ¶¶ 30-44 (scope of APC practice in

Idaho); ¶¶ 46-56 (studies and medical organizations’ recognition of the ability of APCs to safely

provide abortion services); ¶¶ 57-71 (APC training, including training and experience of Plaintiff

Mary Stark). Numerous states, including California, Oregon, Vermont, Montana, and New

Hampshire, legally permit APCs to provide abortion care, including aspiration and medication

abortions. Id. ¶ 27. 6 APCs can safely and effectively provide the same in Idaho. Id. ¶¶ 46-71.

And there are APCs in Idaho who are willing and able to provide abortion care. Id. ¶¶ 57-71.

         The APC Ban significantly limits access to abortion care in Idaho. There are only five

locations in the entire state where a woman can access abortion care, and only three of them are

clinics (as opposed to doctors in private practice who may not accept all patients). Compl. ¶ 72. 7

Almost 70 percent of women in Idaho live in counties without abortion clinics. Id. As a result,

         6
         Citing Donna Barry & Julia Rugg, Center for American Progress, Improving Abortion
Access by Expanding Those Who Provide Care (Mar. 26, 2015),
https://www.americanprogress.org/issues/women/reports/2015/03/26/109745/improving-
abortion-access-by-expanding-those-who-provide-care/. Further, the Attorney General for the
State of Washington recently issued an opinion that a court would likely hold that Washington
law “allows advanced registered nurse practitioners to perform pre-viability aspiration abortions,
so long as that procedure is otherwise within an ARNP’s training, certification, and scope of
practice.” See Req. for Judicial Notice, Ex. C.
         7
         (citing Rachel K. Jones & Jenna Jerman, Abortion Incidence and Service Availability in
the United States, 2014, 49 Perspectives on Sexual & Reproductive Health 17 (2017) (table 4))


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women often need to travel long distances for abortion services. Id.; Compl. ¶¶ 4, 72. Women

traveling for abortion care often face additional hurdles, including arranging and paying for

transportation, taking time off work (and thus losing pay), and arranging for child care. Compl.

¶¶ 73-74. These costs and hurdles can be prohibitive, particularly for populations living in

poverty. Id. ¶¶ 73-75. As a result of lengthy travel distances, some women are simply unable to

obtain an abortion and are instead forced to carry a pregnancy to term against their will. Id. ¶

78. 8

         The APC Ban also has restricted availability of abortion care because abortion care is

limited by the availability of physicians; as a result, there are no publicly accessible clinics in

Idaho regularly offering evening or weekend appointments for abortion care. Compl. ¶¶ 79-81.

This limited availability has serious consequences. Id. ¶¶ 79-93. For example, delay can mean

the difference between obtaining a medication abortion and an aspiration abortion, with

meaningful repercussions for women’s health and well-being. Id. ¶¶ 90-92 (explaining it is not

uncommon that a patient estimated to be at 9 weeks of pregnancy or more contacts PPGNHI

seeking a medical abortion but due to geographic distance and limitations on availability, is

pushed past the limit for medication abortion and forced to travel a large distance, forgo

medication abortion and obtain an aspiration abortion, or forgo abortion care altogether).

         If the APC Ban were invalidated, Idaho women would have significantly more access to

abortion care. Abortion care would be available in Idaho six days of the week, and for extended

hours including evenings and weekends. Compl. ¶ 94. This would make it easier for women to

fit an appointment in between their work and childcare obligations, with less delay. Access

         8
          Citing Alyssa Llamas et al., Jacob’s Institute of Women’s Health, George Washington
University, Public Health Impacts of State-Level Abortion Restrictions: Overview of Research &
Policy in the United States 20-27 (Apr. 2018),
https://publichealth.gwu.edu/sites/default/files/downloads/projects/JIWH/Impacts_of_State_Abo
rtion_Restrictions.pdf.

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would be further expanded because more Idaho women would be able to obtain abortion care

from the same APC in their community from whom they receive other primary, gynecological,

and/or prenatal care. Id. ¶ 95. Allowing APCs to perform abortion care in Idaho would reduce

delays and address geographic and logistical challenges, reducing medical, emotional, and

financial harms. Id. ¶ 96.

III.     ARGUMENT

         A.       Standard of Review

         The Ninth Circuit has consistently recognized that there is “a powerful presumption

against rejecting pleadings for failure to state a claim.” Gilligan v. Jamco Dev. Corp., 108 F.3d

246, 249 (9th Cir. 1997) (internal quotation marks and citation omitted). Dismissal is

inappropriate unless “it appears beyond doubt that the plaintiff can prove no set of facts in

support of his claim which would entitle him to relief, construing the complaint in the light most

favorable to the plaintiff.” Bain v. Cal. Teachers Ass’n, 891 F.3d 1206, 1211 (9th Cir. 2018)

(internal quotation marks and citation omitted). “Federal Rule of Civil Procedure 8(a)(2)

requires only a short and plain statement of the claim showing that the pleader is entitled to

relief, in order to give the defendant fair notice of what the claim is and the grounds upon which

it rests.” Nampa Classical Acad. v. Goesling, 714 F. Supp. 2d 1079, 1088 (D. Idaho 2010)

(ellipsis omitted) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007)), aff’d, 447 F.

App’x 776 (9th Cir. 2011). At this stage, the Court is “not permitted to weigh evidence and

determine whether the explanations proffered by [the parties] are ultimately more persuasive,”

but rather must deny the motion to dismiss except when the “plaintiff’s explanation is

implausible.” Nat’l Ass’n of African Am.-Owned Media v. Charter Commc’ns, Inc., 915 F.3d

617, 627 (9th Cir. 2019) (internal quotation marks, emphasis, and citation omitted). “The issue

is not whether the plaintiff will prevail but whether he is entitled to offer evidence to support the


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claims.” Idaho Rivers United v. U.S. Forest Serv., 857 F. Supp. 2d 1020, 1024 (D. Idaho 2012)

(internal quotation marks and citation omitted).

         B.       Plaintiffs’ Substantive Due Process Claim Is Factually Sufficient and Legally
                  Plausible.

         Plaintiffs allege that by banning APCs from providing abortion care even though they can

provide this care as safely and effectively as physicians, Defendants are violating the due process

rights of patients seeking an abortion. This claim is based closely on the Court’s holdings in

WWH that: (1) abortion is a constitutionally protected liberty interest; and (2) state restrictions on

abortion impose an “undue burden,” and therefore are unconstitutional, if they impose on

patients burdens that outweigh their benefits. WWH, 136 S. Ct. at 2298, 2309-10. Plaintiffs have

pled specific facts supporting the inferences: (1) that Idaho’s APC Ban provides no benefit to

patients; and (2) that the law burdens patients by restricting their access to care. Thus, Plaintiffs

have pled this claim sufficiently under WWH.

                  1.        Plaintiffs’ Challenge to Idaho’s APC Ban Fits Squarely Within
                            Supreme Court Precedent.

         Defendants contend that Plaintiffs’ substantive due process claim is barred by precedent

upholding restrictions similar to Idaho’s APC Ban. See Motion (Dkt. 33) at 9-19. Defendants’

argument, however, asks this Court to wholly ignore central precedent (WWH, 136 S. Ct. 2292)

and to misapply the holding of Mazurek, 520 U.S. 968. Defendants’ flawed analysis does not

offer a basis for dismissal of Plaintiffs’ substantive due process challenge to the APC Ban.

         Abortion restrictions are unconstitutional when they impose an “‘undue burden’” on

abortion access. WWH, 136 S. Ct. at 2309-10 (quoting Planned Parenthood of Se. Pa. v. Casey,

505 U.S. 833, 878 (1992)). As the Court made clear in WWH, when a law fails to confer

“benefits sufficient to justify the burdens,” those burdens are “undue,” and thus unconstitutional.

Id. at 2300. The undue burden standard requires meaningful review of abortion restrictions—a


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court must not simply defer to the state’s assertions about benefits and burdens, because such

deference is inconsistent with the status of the abortion right as a “constitutionally protected

personal liberty” and with the court’s “independent constitutional duty” to closely review the

state’s assertions. Id. at 2309-10. Instead, a court should “place[] considerable weight upon

evidence and argument presented in judicial proceedings,” and, for the law to be upheld, the

record must show that the law actually furthers the state’s asserted interest. Id. at 2310; see also

Humble, 753 F.3d at 914 (explaining that the undue burden standard “requires us to weigh the

extent of the burden against the strength of the state's justification in the context of each

individual statute or regulation”).

         Applying this analysis, the Supreme Court in WWH invalidated two state restrictions that,

like the APC Ban at issue here, were enacted ostensibly as “health and safety” regulations. The

Court did so based on findings that, inter alia, abortion is already extremely safe, “‘with

particularly low rates of serious complications,’” WWH, 136 S. Ct. at 2311 (quoting Whole

Woman’s Health v. Lakey, 46 F. Supp. 3d 673, 684 (W.D. Tex. 2014)); that the challenged

restrictions were inconsistent with how the state regulated comparable and higher-risk medical

procedures, id. at 2302; and that by restricting the provider network available to abortion

patients, the restrictions unduly burdened their fundamental due process right to end a

pregnancy. Id. at 2313, 2316-18.

         The Complaint clearly pleads a colorable due process claim under this precedent.

Specifically, Idaho APCs are highly skilled medical professionals who routinely provide care

similar in nature to, or more complex than, abortion. See Compl. ¶¶ 57-71. APCs provide early

abortion care in other states, and the evidence shows that they do so just as safely as physicians.

Id. ¶¶ 46-48. Recognizing this, major medical authorities support APC provision of early




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abortion care. Id. ¶¶ 49-56. And because Idaho’s APC Ban prevents Ms. Stark and other APCs

at PPNGHI from providing care, patients regularly face scheduling delays that push them later

into their pregnancy, when medical risks and costs and other burdens increase – all without any

medical benefit or justification. Id. ¶¶ 79-93. These facts are more than sufficient to meet

Plaintiffs’ burden at this preliminary stage.

                  2.        Mazurek Is Distinguishable from Plaintiffs’ Challenge.

         Defendants argue that APC bans stand apart from this well-established line of precedent

because one such law was upheld in Mazurek. See Motion (Dkt. 33) at 12-19. But court after

court has explained that all abortion restrictions must be evaluated under the undue burden

framework, which requires a highly fact- and context-specific analysis whose outcome may vary

based on the specific record presented. See Humble, 753 F.3d at 914 (“[T]he undue burden test

is context-specific, and . . . both the severity of a burden and the strength of the state’s

justification can vary depending on the circumstances.”); Tucson Woman’s Clinic v. Eden, 379

F.3d 531, 541 (9th Cir. 2004) (“Casey made clear that the ‘substantial obstacle’ standard for

determining when a law poses an undue burden on the right to obtain an abortion is record-

dependent.”); see also Karlin v. Foust, 188 F.3d 446, 485 (7th Cir. 1999) (“Casey does not

foreclose plaintiffs from bringing facial challenges to abortion regulations in other states that are

similar to those found constitutional in Casey.”).

         Not only do Defendants ignore decades of precedent establishing the record-specific

nature of the undue burden standard, but they misrepresent the claims and factual record in

Mazurek in arguing that these are “directly analogous” to Mazurek. See Motion (Dkt. 33) at 13.

         Critically, Defendants are wrong that Mazurek involved “claims” or “legal theories”

similar to the ones pled here. While Defendants discuss the claims and theories presented at the

trial level, these are irrelevant; the only claim before the Supreme Court was the claim that


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Montana’s APC ban stemmed from an improper purpose. Mazurek, 520 U.S. at 972; see

generally Casey, 505 U.S. at 877 (abortion restrictions are invalid if they have the purpose or

effect of placing a substantial obstacle before women seeking an abortion). The Supreme Court

expressed concern that the Ninth Circuit had found that the purpose of Montana’s statute may

have been to create a substantial obstacle, but that the Ninth Circuit seemingly had not relied on

any evidence that suggested an unlawful motive. Mazurek, 520 U.S. at 972, 976. It was

uncontested in Mazurek that “there was insufficient evidence of a ‘substantial obstacle’ to

abortion” such that the courts did not undertake a detailed analysis of the effect the statute had on

abortion access. Id. at 972.

         Here, by contrast, Plaintiffs’ substantive due process claim does not challenge the

legislative purpose behind Idaho’s APC Ban. Instead, the Complaint meticulously details the

specific and significant impediments that the statute currently imposes on access to abortion care

within Idaho. See Compl. ¶¶ 72-93. The detail contained in Plaintiffs’ allegations is more than

sufficient to state a plausible claim that the challenged statute has the effect of restricting access

to abortion services, an argument not contemplated by the Supreme Court in Mazurek.

         Further distinguishing Mazurek from the circumstances presently before this Court is the

fact that, at the time of the Supreme Court’s decision, Ms. Cahill was the only non-physician

qualified to perform abortions in Montana and was only licensed to provide procedures with a

physician present. Mazurek, 520 U.S. at 970-71. The Court highlighted these facts in its

decision to uphold Montana’s statute, stating that Ms. Cahill “could only perform abortions with

a licensed physician (who also performs abortions) present, . . . meaning that no woman seeking

an abortion would be required by the new law to travel to a different facility than was previously

available.” Id. at 973-74. Again, the facts here are different. In this case, there are multiple




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APCs qualified to perform abortions without a physician being present. See Compl. ¶¶ 11, 57-71.

Indeed, APRNs are licensed professionals who practice independently, and like physicians,

exercise primary responsibility for the care of their patients. See Compl. ¶ 30. Removing the

medically unnecessary APC ban, would lessen substantially the burden on access to abortion

care in Idaho, both in terms of travel time and distance, and the time it takes to get an

appointment. Id. ¶¶ 94-96.

         The facts here also differ critically from those in Mazurek because, since 1997, the

United States Food and Drug Administration (“FDA”) approved safe and legal medication

abortion—specifically allowing it to be provided by APCs. Id. ¶¶ 59-71. This development

materially alters the record on both sides of the undue burden scale, crystalizing that APC bans

such as Idaho’s are medically unjustified and that they harm women. On the question of whether

the APC Ban is medically justified, the medical consensus (including at the FDA) is

overwhelming that APCs are qualified to prescribe this extremely low-risk medication, and in

fact APCs in Idaho lawfully prescribe these medications for other medical purposes. Id. ¶ 62.

On the question of whether the APC Ban imposes burdens on patients seeking an abortion, one

of the burdens Plaintiffs will show (post-dating Mazurek) is that this law restricts access to

medication abortion specifically, because this treatment is only available in the earliest weeks of

pregnancy and scheduling delays regularly push patients past the cut-off for this treatment. Id.

¶¶ 79-91. In practical terms, this means that the APC Ban deprives many women of the

opportunity to avoid a medical procedure, including women who have a strong preference for

doing so and even women who have medical conditions that make medication abortion the safer

option. Id. ¶ 88; see also Humble, 753 F.3d at 915-16 (loss of medication abortion option a

significant burden).




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         Thus, the mere fact that Plaintiffs are challenging a similar type of restriction as the

Montana statute at the center of Mazurek does not, without consideration of the specific facts,

warrant dismissal of Plaintiffs’ Complaint. Rather, a fact-intensive analysis of the present

circumstances is required and Defendants’ reliance on Mazurek in an effort to evade

constitutional review is unavailing. 9

                  3.        Undue Burden Analysis Is Required Because the APC Ban Is an
                            Affirmative State Restriction, Not the Failure of the State to Grant a
                            Benefit.

         Defendants argue that the undue burden analysis does not apply here because the APC

Ban does not amount to “state action” (Motion (Dkt. 33) at 23) and the state has no affirmative

duty to facilitate the exercise of the right to abortion. This argument defies the facts and the law,

not to mention simple logic. It is also fundamentally inconsistent with Defendants’ recent

concessions in PPGNHI v. Wasden, Case No. 1:15-cv-00557-BLW, that an Idaho statute banning

the provision of medication abortion by telemedicine was an unconstitutional restriction on

abortion access. See Plaintiffs’ Request for Judicial Notice, Exs. A, B (joint motion filed with

proposed order declaring that ban on the use of telemedicine to provide medication abortion

“impose[] an undue burden on women’s access to abortion and therefore violate[d] the

Fourteenth Amendment”). Indeed, the APC Ban is on all fours with the telemedicine ban whose



         9
          Defendants also cite to language from Roe v. Wade, 410 U.S. 113, 165 (1973), City of
Akron v. Akron Center for Reproductive Health, 462 U.S. 416, 447 (1983), Connecticut v.
Menillo, 423 U.S. 9, 11 (1975) (per curiam), and Casey, 505 U.S. at 885 (plurality opinion),
indicating approval of physician-only requirements. None of these cases supports Defendants’
position here. The Roe and Akron dicta they cite merely reflect that in the seventies and early
eighties, a physician-only requirement appeared medically reasonable. Menillo held that states
can protect patients by prohibiting unlicensed practitioners who “ha[ve] never had any medical
training” from performing abortion procedures. 423 U.S. at 9; id. at 10 (explaining that Roe
established a “right to a clinical abortion by medically competent personnel”). And the Casey
passage Defendants cite expresses that states have “broad latitude to decide that particular
functions may be performed only by licensed professionals,” 505 U.S. at 885—which does not
help Defendants justify a ban on licensed APCs providing abortion.

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unconstitutionality Defendants recently conceded: both are unconstitutional because they

affirmatively burden access to abortion without conferring any benefits.

         Defendants’ argument that the undue burden test does not apply here relies upon a series

of inapposite cases concerning questions about whether and when the state is obligated to fund

abortion, specifically Maher v. Roe, 432 U.S. 464 (1977), and Harris v. McRae, 448 U.S. 297

(1980), and their progeny. Those cases are limited on their face to funding decisions and

questions of affirmative obligation, as opposed to affirmative restrictions on abortion such as the

APC Ban challenged here. Put differently, the abortion funding cases involve complaints about

the failure of the government to act, not an affirmative act by the state that burdens the right to

abortion. 10 Indeed, as the Court in Harris observed, “government may not place obstacles in the

path of a woman’s exercise of her freedom of choice,” though “it need not remove those not of

its own creation.” 448 U.S. at 316 (emphasis added). The APC Ban is an obstacle of the state’s

own creation. That its removal could be cast as a benefit is irrelevant. That could be said of

every abortion restriction. Clearly, the undue burden test still applies. To hold otherwise, to

quote Defendants, would amount to a “‘drastic change’ in the way the Constitution operates.”

Motion (Dkt. 33) at 23.

         The analogy that Defendants seek to draw between this case and the abortion funding

cases rests on the faulty premise that the APC Ban is just a neutral regulation. Thus, removing

the restriction and enabling APCs to provide abortions would confer a benefit. Far from being

neutral, however, the APC Ban specifically targets abortion. Indeed, Idaho law does not single

         10
           While the parties may disagree over whether the state burdens or discriminates against
the constitutional right to abortion where it undertakes to fund maternity care but fails to fund
abortion care, there is no question that the state cannot take affirmative steps that unduly burden
the ability of pregnant people to procure this care for themselves. WWH, 136 S. Ct. at 2300
(“‘Unnecessary health regulations that have the purpose or effect of presenting a substantial
obstacle to a woman seeking an abortion impose an undue burden on the right.’” (quoting Casey,
505 U.S. at 878)).

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out any other medical procedure this way. Instead, the state defers to the licensing boards that

regulate each profession, which in turn largely defer to national professional organizations to

define which specific procedures, practices, and competencies are within the permissible scope

of practice of APCs (based upon their skills, training, experience, etc.). Compl. at n.2. And

Idaho law permits APCs to prescribe medications comparable to medication abortion and to

perform minor procedures comparable to aspiration abortion. Id. at ¶¶ 57-71. The APC Ban

deliberately excludes abortion care from that common scheme. Thus, what Plaintiffs seek is not

some “entitlement” on the part of their patients to “more access,” but rather that their abortion

patients not be singled out for medically unjustified barriers to care.

         Defendants next assert that there is “no state action” because, according to Defendants,

Plaintiffs have not pled sufficient facts to prove that the APC Ban is the “reason why[]” Idaho

women lack access to abortion. Motion (Dkt. 33) at 26-27. That is not what the undue burden

standard requires. Rather, that standard requires Plaintiffs—at this preliminary stage—to

adequately plead that, in the “‘real-world context’” of current provider capacity, the APC Ban

burdens access to care. W. Ala. Women’s Ctr. v. Miller, 217 F. Supp. 3d 1313, 1328-29 (M.D.

Ala. 2016) (quoting Planned Parenthood Se., Inc. v. Strange, 9 F. Supp. 3d. 1272, 1285-86

(M.D. Ala. 2014)). 11 As the Seventh Circuit recently explained in affirming a preliminary


         11
              As the court in Miller reasoned:

         In Casey, the Supreme Court’s evaluation of the burdens imposed by a spousal-
         notification requirement considered that many women live
         in abusive relationships, meaning that requiring notification to an abusive spouse
         imposed a potentially insurmountable barrier to obtaining an abortion. See 505
         U.S. at 888-898 (majority opinion). It did not matter that the notification
         requirement could not be said to cause women to live in abusive relationships
         or contribute to the existence of such relationships; it was nonetheless dispositive
         that the notification requirement had the actual effect of imposing a substantial
         obstacle on women’s access to abortion.

217 F. Supp. 3d at 1328-29.

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injunction of an ultrasound requirement for abortion patients, and rejecting the state’s argument

that Planned Parenthood could have mitigated the burdens of the statute by making different

business decisions:

         [I]t [is not] appropriate for an opposing party or a court to dictate the best use of
         resources for a business, provided its choices are within the range of
         reasonableness—but particularly in the case of a non-profit agency with limited
         funding seeking to provide the most efficient health care services to a mostly poor
         population.

Planned Parenthood of Ind. & Ky., Inc. v. Comm’r of Ind. State Dep’t of Health, 896 F.3d 809,

823 (7th Cir. 2018).

         In other words, “[c]ourts must consider the impact of the new ultrasound law based on

the reality of the abortion provider and its patients, not as it could if providers and patients had

unlimited resources.” Id. at 824. As the Seventh Circuit explained, this is the same approach

that the Supreme Court took in WWH; there, facing a challenge to physical facilities

requirements that would have been costly to providers, the Court made the common sense

assumption “that the facilities would close rather than be able to meet the requirements, despite

the fact that each facility could, in an alternate universe where resources were unlimited, simply

make the changes.” Id. (citing WWH, 136 S. Ct. at 2318); cf. Casey, 505 U.S. at 888-98

(considering effects of spousal notice requirement in context of societal, not governmental,

circumstances, namely the significant incidence of intimate partner violence). Thus, it is

immaterial that the APC Ban has not caused physician shortages in Idaho. As set forth above,

Plaintiffs have pled more than sufficient facts to demonstrate that, in the “real-world context” of

current provider capacity, the APC Ban burdens access to care. Compl. ¶¶ 72-93.

         In a nutshell, Defendants’ argument conflates the question of whether there is “state

action” with the question of whether that action unduly burdens the right to abortion. The




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answer to the former question is clear. The APC Ban constitutes state action. The latter is a

question of fact that cannot be resolved on a motion to dismiss. As the court in Strange

observed:

         First: Context matters. Courts must perform a careful, fact-specific analysis of
         how the restrictions would impede women’s ability to have an abortion, in light of
         the circumstances of their lives. Second: Courts must examine the strength of the
         State’s justifications for regulations, not just the effects of the regulation.

9 F. Supp. 3d at 1285. The Court simply cannot conduct this analysis on a motion to dismiss,

and Defendants have cited no authority to the contrary.

         The law is clear: any statute the unduly burdens the right to abortion prior to viability is

unconstitutional. That the removal of the statute would be of benefit, of course, is irrelevant.

That is true of all burdens. Whether to allow APCs to provide abortion care, therefore, is not a

question over which the legislature has unfettered discretion, as Defendants suggest. Indeed, the

scope of practice of medical professionals is an area that the legislature deliberately has refrained

from entering and for good reason—except when it comes to abortion. The evidence will show,

assuming Plaintiffs are allowed to present it, that the decision of the legislature to intervene and

single out this care for heightened restriction violates both the Due Process Clause and the Equal

Protection Clause.

         C.       Plaintiffs’ Equal Protection Claim Is Factually Sufficient and Legally
                  Plausible.

                  1.        The APC Ban Violates the Equal Protection Rights of Plaintiffs and
                            Their Patients.

         The Equal Protection Clause “commands that . . . all persons similarly situated should be

treated alike.” City of Cleburne v. Cleburne Living Ctr., Inc., 473 U.S. 432, 439 (1985) (citing

Plyler v. Doe, 457 U.S. 202, 216 (1982)). The Idaho APC Ban violates this command in two

ways. First, the APC Ban violates the equal protection rights of patients by singling out



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abortion—a medical procedure that only women 12 require and to which they have a fundamental

right—for stricter regulation than comparable health care services without so much as a rational

basis. Second, the APC Ban violates the equal protection rights of APCs by treating APCs

differently from physicians and APCs providing early abortion care differently from other APCs,

all of whom are similarly situated for all purposes relevant to the APC Ban, again without any

rational basis.

                            a)   The APC Ban Violates the Equal Protection Rights of Patients.

         The Court should subject the APC Ban to heightened scrutiny because it burdens the

fundamental right to abortion and because it discriminates on the basis of gender. A law that

burdens a fundamental right is subject to strict scrutiny, meaning that the government must

demonstrate that the law furthers a compelling state interest, and that the classification is

narrowly tailored to address that interest. Shapiro v. Thompson, 394 U.S. 618, 638 (1969),

overruled in part on other grounds by Edelman v. Jordan, 415 U.S. 651 (1974); Skinner v. State

of Okla. ex rel. Williamson, 316 U.S. 535, 541 (1942) (applying strict scrutiny and invalidating

statute allowing for sterilization as a penalty for larceny but not embezzlement).

         In addition, laws that establish gender-based classifications are subject to intermediate

scrutiny, which means that they must serve an important government objective and be

substantially related to the achievement of that objective. See Craig v. Boren, 429 U.S. 190

(1976) (law restricting the sale of low-alcohol beer to 18-year-old women and 21-year-old men

violated the Equal Protection Clause); Frontiero v. Richardson, 411 U.S. 677 (1973) (Air Force

violated equal protection rights of appellants, Air Force lieutenant and her husband, by refusing

to recognize the lieutenant’s husband as her dependent).

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         Plaintiffs use “women” as a short-hand for a patient seeking abortion care, but note that
gender non-conforming patients and men who are transgender may also utilize such services and
would thus also suffer irreparable harm as a result of the APC Ban.

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         In Geduldig v. Aiello, 417 U.S. 484 (1974), a widely criticized decision, the Supreme

Court held that pregnancy-based distinctions (including abortion restrictions) are gender-neutral

on their face. Id. (rejecting the claim that a state disability insurance system that denied coverage

to certain disabilities resulting from pregnancy discriminated on the basis of sex in violation of

the Equal Protection Clause of the Fourteenth Amendment). 13 Since Geduldig, however, the

Court implicitly has acknowledged that some pregnancy-based distinctions may amount to sex

discrimination under the Equal Protection Clause. Nev. Dep’t of Human Res. v. Hibbs, 538 U.S.

721, 733 n.6 (2003) (identifying various instances of unconstitutional state discrimination on the

basis of gender, which provided Congress with the authority to respond with FMLA, remedial

and prophylactic legislation passed under section 5 of the Fourteenth Amendment). 14 As the

         13
           When a statute gender-neutral on its face is challenged on the ground that it
disproportionately affects women, a twofold inquiry is appropriate. The first question is whether
the statutory classification is indeed neutral in the sense that it is not gender-based. If the
classification itself, covert or overt, is not based upon gender, the second question is whether the
adverse effect reflects invidious gender-based discrimination. Tucson Woman’s Clinic, 379 F.3d
at 547-49 (citing Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 274 (1979)). Laws that are truly
gender-neutral on their face, however, impact some members of both genders. See, e.g., Pers.
Adm’r of Mass., 442 U.S. at 270 (rejecting an Equal Protection Clause challenge to a
Massachusetts law giving employment preference to military veterans, a class which in
Massachusetts was over 98% male). This is why a higher standard of proof is required—to show
that behind the disparate impact of the law is some constitutionally impermissible purpose.
Laws that draw distinctions on the basis of pregnancy (and abortion), however, do not impact
cisgender men. Unlike other types of claims involving disparate impact analysis, underlying the
Court’s rulings with respect to the application the Equal Protection Clause to abortion
restrictions is the notion that these restrictions do not affect all women. That is simply not the
case. Laws that serve no legitimate purpose other than to stigmatize women’s exercise of their
constitutional right to abortion offend the dignity of all women. These laws demean people who
can become pregnant, suggesting that their decisions about their own health are less worthy of
respect than the decisions of others.
         14
           Courts have recognized as well, that reproductive freedom is critical to gender equality.
Casey, 505 U.S. at 856 (“The ability of women to participate equally in the economic and social
life of the Nation has been facilitated by their ability to control their reproductive lives.”);
Erickson v. Bartell Drug Co., 141 F. Supp. 2d 1266, 1273 (W.D. Wash. 2001) (“[T]he adverse
economic and social consequences of unintended pregnancies fall most harshly on women and
interfere with their choice to participate fully and equally in the ‘marketplace and the world of
ideas.’” (quoting Stanton v. Stanton, 421 U.S. 7, 14-15 (1975)); Comm. to Defend Reprod. Rights
v. Myers, 625 P.2d 779, 797 (Cal. 1981) (“This right of personal choice is central to a woman’s
control not only of her own body, but also to the control of her social role and personal
destiny.”). Indeed, as Justice Ginsburg observed in her dissent in Gonzales v. Carhart, “legal

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Ninth Circuit in Tucson Woman’s Clinic, 379 F.3d at 548, observed, “Hibbs strongly supports

[the] argument that singling out abortion in ways unrelated to the facts distinguishing abortion

from other medical procedures is an unconstitutional form of discrimination on the basis of

gender.”

         The court in Tucson Women’s Clinic ultimately concluded that “even if laws singling out

abortion can be judicially recognized as not gender-neutral, where such laws facially promote

maternal health or fetal life, Casey replaces the intermediate scrutiny such a law would normally

receive under the equal protection clause with the undue burden standard.” Id. at 549. This

merger of analyses between the Due Process and Equal Protection Clauses further reinforces the

importance of comparing how Defendants treat patients seeking an abortion and other patients

and considering whether any differences are medically justified, which is already part of the

analysis in WWH, see 136 S. Ct. at 2315 (comparing abortion restrictions to less stringent

restrictions on higher-risk procedures such as colonoscopies). 15 As Plaintiffs have pled, the APC

Ban fails this comparison because Idaho permits APCs to provide treatments that are of

comparable or higher risk than early abortion care. Compl. ¶¶ 1-3, 32-43.

         The APC Ban bears no logical relationship to a valid state interest. It does not promote

maternal health. Nor can the state justify the restriction based solely on its interest in promoting


challenges to undue restrictions on abortion procedures do not seek to vindicate some
generalized notion of privacy; rather, they center on a woman’s autonomy to determine her life’s
course, and thus to enjoy equal citizenship stature.” 550 U.S. 124, 172 (2007) (Ginsburg, J.,
dissenting). Thus, while the Supreme Court has recognized a right to abortion implicit in the Due
Process Clause of the Fourteenth Amendment, Casey, 505 U.S. at 846, laws that place undue
restrictions on abortion access also violate the Equal Protection Clause.
         15
           Further, as the court in Tucson Women’s Clinic noted, elements of intermediate
scrutiny review particular to sex-based classifications, such as the rules against paternalism and
sex-stereotyping, are evident in the Casey opinion, and should be considered by courts assessing
the legitimacy of abortion regulation under the undue burden standard. Tucson Woman's Clinic,
379 F.3d at 547-49 (citing J.E.B. v. Alabama ex rel. T.B., 511 U.S. 127, 132 (1994); Frontiero,
411 U.S. at 684; Casey, 550 U.S. at 882).


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fetal life. As the Supreme Court made clear in Hodgson v. Minnesota, 497 U.S. 417, 435 (1990),

“[a] state policy favoring childbirth over abortion is not in itself a sufficient justification for

overriding the woman’s decision or for placing ‘obstacles—absolute or otherwise—in the

pregnant woman’s path to an abortion.’” Id. (quoting Maher, 432 U.S. at 474, and citing Harris,

448 U.S. at 315-16).

         As singling out abortion as outside the scope of services that a pregnant person can

receive from an APC serves no valid state interest, the APC Ban violates the equal protection

rights of pregnant people. 16

                            b)   The APC Ban Violates the Equal Protection Rights of APCs.

         By distinguishing between qualified APCs and physicians, who for all purposes relevant

to the provision of early abortion care are similarly situated, the APC Ban violates the equal

protection rights of APCs. The APC Ban also violates these rights by distinguishing between

APCs providing early abortion care and APCs providing other care comparable in risk and

complexity.

         If a statute treats similarly situated classes of persons differently but does not implicate a

fundamental right or burden a suspect class, there still “must exist some rational connection

between the state’s objective for its legislative classification and the means by which it classifies

its citizens.” Silveira v. Lockyer, 312 F.3d 1052, 1088 (9th Cir. 2002) (holding that there was no

rational basis for the establishment of an exemption for retired peace officers from a California

statute that imposed certain requirements on owners of assault weapons), abrogated on other

grounds by District of Columbia v. Heller, 554 U.S. 570 (2008); Rothery v. County of

         16
          Though the standard for analyzing Plaintiffs’ equal protection claims may overlap with
the standard for analyzing their claims under the Due Process Clause, this Court should not
ignore these claims. Until courts fully recognize that senseless abortion restrictions also
constitute unlawful sex discrimination under the Equal Protection Clause, all people with the
capacity to become pregnant will continue to be relegated to the status of second-class citizens.

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Sacramento, 700 F. App’x 782 (9th Cir. 2017). “A statutory exemption that bears no logical

relationship to a valid state interest fails constitutional scrutiny.” 312 F.3d at 1091.

         Defendants do not even attempt to provide a legitimate reason for restricting the

provision of abortion care to physicians only, or for allowing APCs to provide other low-risk

medical care but not abortion. Instead, Defendants point to irrelevant distinctions between APCs

and physicians and ask the Court to conclude as a matter of law that the two groups are not

similarly situated and thus the Equal Protection Clause does not apply. 17

         When determining if groups are similarly situated the “analysis must focus on factors of

similarity and distinction pertinent to the state’s policy, not factors outside the realm of its . . .

concern.” Ariz. Dream Act Coal. v. Brewer, 855 F.3d 957, 967 (9th Cir. 2017) (finding that

DACA recipients were similarly situated to other undocumented immigrants for purposes of

determining eligibility for drivers licenses). 18 In City of Cleburne, 473 U.S. at 447-50, for

example, the Supreme Court struck down a zoning ordinance that required adult group homes to

obtain a special use permit, but did not require boarding houses, nursing homes, hospitals,

sanitariums, and other multiple-dwelling facilities to do the same. In evaluating whether these

entities were similarly situated for purposes of the challenge to the ordinance, the relevant

question was not whether these entities were identical in all respects. Of course, they were not.

Indeed, many of them served different populations and almost certainly required different

licensure. What was relevant was that they were all multi-dwelling facilities, which meant that




         17
          Defendants also note that medical practitioners are not a suspect class. Motion (Dkt.
33) at 25. Plaintiffs are not relying on any such classification.
         18
          See also Hawn v. Exec. Jet Mgmt., Inc., 615 F.3d 1151, 1157 (9th Cir. 2010)
(employees “must only be similar in all material respects,” and materiality “depend[s] on context
and the facts of the case” (internal quotation marks and citation omitted)).

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their impact on the community would be similar. Thus, there was no rational basis for the

zoning ordinance to treat one more harshly than the others.

         Likewise, the “factors of similarity and distinction pertinent to” the APC Ban are the

skills and abilities necessary to provide safe abortion care, not the specific licensure and

education requirements that apply to these groups, as Defendants suggest. Since these

distinctions do not render APCs any less qualified than physicians to provide abortion care, they

are not relevant to determining whether APCs and physicians are similarly situated for purposes

of determining whether the APC Ban violates the equal protection rights of APCs. Plaintiffs’

Complaint alleges more than sufficient facts to demonstrate that qualified APCs have the skills

and abilities to provide abortion care as safely and effectively as physicians. Compl. ¶¶ 28-44.

Thus, they are identically situated with respect to the state’s asserted interest in protecting the

health and safety of abortion patients.

         Defendants offer no explanation as to how any of the distinctions they identify provide a

rational basis for restricting the provision of abortion care to licensed physicians. As authority

for this claim, Defendants cite a single case from the California State Court of Appeal in which a

nurse practitioner who was disciplined for drinking and driving sued the state board of nursing

alleging, among other things, that the penalty that he received was out of step with the penalty

that a physician would have received. Sulla v. Bd. of Registered Nursing, 140 Cal. Rptr. 3d 514,

524 (Ct. App. 2012). In Sulla, the trial court found in favor of the nurse practitioner and reversed

the disciplinary action. The Court of Appeal reversed, finding that the plaintiff had not

demonstrated that he had been “treated more harshly than a physician would have been under

similar circumstances.” Id. Thus, the Sulla court did not reach the question of whether APCs

and physicians were similarly situated in that context, and if so whether there was any basis for




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distinguishing between the two groups. In contrast here, Defendants have not identified any

nexus between the APC Ban and any legitimate state interest and there is no question that the

law treats APCs more harshly than physicians.

         Defendants also identify the different supervision requirements and scopes of practice of

APCs and physicians as a justification for treating them differently. APRNs, however, practice

independently, and though PAs practice under the supervision of a physician (which need not be

in person), this requirement does not impact their ability to safely and effectively provide

abortion care. Moreover, all medical practitioners have different scopes of practice depending

upon their skills, abilities, and experience. What is relevant is whether early abortion care would

be within the legal scope of practice of APCs without the APC Ban, and the Complaint contains

more than sufficient factual allegations to illustrate that it would.

         In any event, whether physicians and APCs, or APCs providing abortion care and other

APCs, are similarly situated for purposes of analyzing whether the APC Ban violates the equal

protection rights of APCs is inherently a question of fact. See, e.g., Cortes v. County of Santa

Clara, 630 F. App’x 731, 732 (9th Cir. 2016) (reversing a district court order granting summary

judgment in favor of defendant employer under the California Fair Employment and Housing

Act, observing that “‘whether two employees are similarly situated is ordinarily a question of

fact’” (quoting Beck v. United Food & Commercial Workers Union, Local 99, 506 F.3d 874, 883

n.4 (9th Cir. 2007) (affirming judgment of district court in favor of female employee’s in Title

VII action against union, where the union had provided more aggressive representation of two

men than it had of employee and her female coworker, and employee was similarly situated to

other male employees who had received more favorable treatment))). 19


         19
         While these cases deal with claims under the California Fair Employment and Housing
Act and Title VII, rather than the Equal Protection Clause, the principle is the same. Two classes

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         There simply is no basis for the Court to conclude, at this threshold stage on a motion to

dismiss with no factual record developed, that APCs providing early abortion care are not

similarly situated to physicians providing this care or to other APCs providing comparably low-

risk care.

                            c)   “Abortion Is Unique” Is Not a Sufficient Justification for
                                 Singling Out Abortion for Greater Restriction Than Other
                                 Medical Procedures That Carry the Same or Greater Risk.

         Defendants further offer as justification for singling out abortion for greater restriction

than other medical procedures that carry the same risk that “[a]bortion is inherently different

from other medical procedures” because it “involves the purposeful termination of a potential

life.” Harris, 448 U.S. at 325. This argument is without merit. To survive review, challenged

laws must be rationally related to the asserted state interest in promoting the safety of abortion

care. There is no end run around equal protection simply because the Idaho law involves

abortion. Under this theory, no abortion restriction could ever implicate equal protection, which

is plainly wrong. Numerous courts have struck down laws that single out abortion under the

rational basis test. See, e.g., Planned Parenthood of Ind. & Ky., Inc. v. Comm’r, Ind. Dep’t of

Health, 64 F. Supp. 3d 1235, 1254-60 (S.D. Ind. 2014); Planned Parenthood of Greater Ohio v.

Hodges, 188 F. Supp. 3d 684, 693-94 (S.D. Ohio 2016). Harris is inapposite because in that

case the state asserted an interest in potential life as its basis for not affirmatively funding

abortion, see 448 U.S. 297, supra Part III(B)(3).

         D.       Plaintiffs Complied with the Notice Pleading Requirements of Federal Rule
                  of Civil Procedure 8(a)(2).

         Defendants contend, in the alternative, the Complaint should be dismissed for failure to

comply with Federal Rule of Civil Procedure 8(a)(2). Defendants’ argument is baseless.


need not be identical in order to be similarly situated. If they were, they would be one class, not
two. Instead, the relevant question is whether they are similarly situated in all material respects.

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         Under Rule 8(a)(2), a pleading need consist only of “a short and plain statement of the

claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). A basic objective of

the rule is to avoid civil cases turning on technicalities. This is achieved by requiring a pleading

to give the opposing party fair notice of the nature and basis of the pleader’s claim. See 5

Charles A. Wright et al., Federal Practice and Procedure § 1215, Westlaw (database updated

Apr. 2019); accord Starr v. Baca, 652 F.3d 1202, 1212 (9th Cir. 2011) (“The theory of Rule 8(a),

and of the federal rules in general, is notice pleading.”). Thus, to satisfy the rule, a plaintiff need

only plead sufficient allegations of underlying facts to give fair notice and to enable the opposing

party to defend itself effectively, and the pleading must contain factual allegations that, when

taken as true, plausibly suggest an entitlement to relief, such that it is not unfair to require the

opposing party to be subjected to the expense of discovery and continued litigation. See Merritt

v. Countrywide Fin. Corp., 759 F.3d 1023, 1033 (9th Cir. 2014); Starr, 652 F.3d at 1216.

         The Complaint plainly meets the notice pleading standard of Rule 8(a). Defendants’

contention that the Complaint lacks factual allegations about “how or why the laws operate as an

obstacle to a woman seeking an abortion” (Motion (Dkt. 33) at 28) is flatly wrong. In fact, the

Complaint contains more than sufficient allegations to put Defendants on notice of the basis for

Plaintiffs’ challenge to the constitutionality of Idaho’s APC Ban. As set forth in more detail in

the allegations in the Complaint, the APC Ban places an undue burden on a woman’s right to

abortion because it limits access to abortion services without medical justification.

         •    There are only five locations in Idaho where a woman can access abortion care, and
              only three of them are clinics. Compl. ¶ 72. The majority of women in Idaho live in
              counties without abortion clinics. Id. Even for women who live in counties where
              abortions are performed, physician availability is limited. Id. ¶¶ 4, 79-80. As a
              result, many women in Idaho seeking abortions face significant and expensive travel
              burdens and delayed access to care, preventing some women from obtaining an
              abortion altogether. Id. ¶¶ 72-78.




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         •    There are APCs in Idaho who are qualified and willing to perform abortions. Id.
              ¶¶ 11, 57-71.

         •    Idaho’s APC Ban, however, makes it “‘unlawful for any person other than a
              physician to cause or perform an abortion.’” Id. ¶ 25 (quoting Idaho Code § 18-
              608A).

         •    Because of the APC Ban, the times at which a woman can obtain an abortion in Idaho
              are strictly limited by physician availability. Id. ¶¶ 79-80.

         •    These limits regularly delay patients seeking care, imposing on them increased
              medical risk, increased costs, reduced medical options, and other harms. Id. ¶¶ 82-93.

         •    If APCs were permitted to perform abortions in Idaho, access for women would not
              be so severely limited. Access to abortion care would be available in Idaho six days
              of the week, for longer hours (including evenings and weekends) and in more
              communities across the state. Id. ¶¶ 94-96.

In sum, the Complaint offers ample factual allegations to put Defendants on notice of how the

APC Ban operates as an obstacle to a woman seeking abortion by unreasonably restricting the

ability of qualified medical professionals to provide abortion care in locations and at times that

limited physicians are unable to meet.

         Finally, Defendants bizarrely argue a lack of notice pleading because the allegations in

the Complaint are “confined to events taking place almost 20 years after Idaho’s physician-only

laws were enacted” and, as such, Plaintiffs “do not address the impact the laws had on abortions

at the time of enactment.” Motion (Dkt. 33) at 29. Defendants cite no authority, nor is there any,

supporting their argument that the undue burden standard requires Plaintiffs to show a law’s

burdens at the time it was enacted, as opposed to the present. Contra Casey, 505 U.S. at 877 (“A

finding of an undue burden is a shorthand for the conclusion that a state regulation has the

purpose or effect of placing a substantial obstacle in the path of a woman seeking an abortion of

a nonviable fetus.” (emphasis added)). Simply put, a law that unduly burdens patients does not

become less unconstitutional under time, and this law has only become more irrational and

harmful over time with: the advent of safe, legal medication abortion; the standardization of the


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APC professions, their increasing scope of practice to cover medical care comparable to or more

complex than early abortion care, and the increasing recognition that they are essential to

expanding access to care for rural and underserved populations; and the accumulated evidence

and firm medical consensus that APCs can provide early abortion care just as safely as

physicians.

IV.      CONCLUSION

         For all the foregoing reasons, Defendants’ motion to dismiss should be denied. In the

alternative, should the Court determine any pleading deficiency exists, dismissal should be

without prejudice and Plaintiffs should be given leave to amend.




         DATED: April 19, 2019.                   STOEL RIVES LLP


                                                  /s/ Nicole Hancock
                                                  Nicole Hancock

                                                  Attorneys for Plaintiffs




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 19, 2019, I served a copy of the foregoing RESPONSE TO

MOTION TO DISMISS (Dkt. 33) on CM/ECF Registered Participants as reflected on the

Notice of Electronic Filing as follows:

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